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                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 IN RE:                                          §
                                                 §           Case No: 22-31780-swe13
 GEORGE DALE WIGINGTON                           §           Chapter No: 13
                                                 §


              OBJECTION TO U.S. BANK’S PROOF OF CLAIM and
      OBJECTION TO TRUSTEE’S RECOMMENDATION CONCERNING CLAIMS

 TO THE HONORABLE U.S. BANKRUPTCY COURT:

        COMES NOW GEORGE DALE WIGINGTON (“Debtor”) who files this Objection to

 Claim of U.S. Bank and Objection to Trustee’s Recommendation Concerning Claims Motion for

 Reconsideration and, for cause shown below, requests that the Court disallow, or allow in

 reduced amount, U.S. Banks’ claim and require Trustee to modify the TRCC in accordance with

 the Court’s ruling on the claim objection.

                     OBJECTION TO U.S. BANK’S PROOF OF CLAIM

 Part 1 – Grounds for Complete Disallowance

 1.     U.S. Banks’ proof of claim should be disallowed in its entirety based on the following

 grounds.

            Ground 1 – Confirmation of Chapter 11 Plan/Novation/Release/Waiver

 2.     U.S. Bank is attempting to enforce an obligation (note and deed of trust) that has been

 modified and superseded by a confirmed bankruptcy plan.

 3.     Debtor had a Chapter 11 Plan [DOC 316] confirmed in Case 11-41092 in the Bankruptcy

 Court of the Eastern District of Texas on June 4, 2013. [DOC 388]. The Note and the Deed of
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 Trust submitted in support of U.S. Bank’s claim here were also submitted in support of

 CitiMortgage’s claim in the prior case. 1

 4.      CitiMortgage’s claim was treated in full as a total debt claim under Section 3.32 of the

 Chapter 11 Plan.

 5.      In a standard individual Chapter 11 case, after confirmation there exists two obligations

 for each claim treated under the plan, the original (pre-confirmation) debt—which is stayed

 during the pendency of the plan—and the obligation provided in the plan. Thus, subsequent to

 the confirmation of a plan, the only enforceable obligation is that which is contained in the plan.

 Thus, since plan was never revoked, and the case was never dismissed or converted subsequent

 to the confirmation, 2 the only existing obligation—if any—is that contained in the plan itself.

 6.      In addition, the plan here provided for the immediate affirmative release and waiver of

 recourse for “all claims for which treatment has been provided in the Plan.” 3

 7.      Thus, the confirmed Chapter 11 Plan is the appropriate obligation for consideration here.

 This is important because there is a distinction between the transfer of the stayed, waived, and

 released pre-confirmation obligation and the transfer of the obligation under the plan. For

 instance, a negotiable instrument—if endorsed in blank—is negotiable by transfer of possession,

 the obligations under the plan, which is not a negotiable instrument, is only transferable by

 assignment and requires a notice of transfer of claim to be filed with the court.

                           Ground 2 – Res Judicata and Collateral Estoppel




 1
   Notably, the endorsement contained on the note in this case was absent from the note in the claim filed on
 November 11, 2011 in the prior case.
 2
   The case was filed as a Chapter 13 and converted to Chapter 11 prior to confirmation of any plan.
 3
   11.    Section 6.3 of the Chapter 11 plan provides that “all Claims for which treatment has been provided in the
 Plan shall be deemed fully satisfied upon the distribution of property or payment of cash as provided herein, and
 such claimant shall have no further recourse against and does affirmatively release the Debtors.”
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 8.     Upon completion of payments under the plan, the Court holds a hearing to determine

 whether all payments under the plan have been completed pursuant to 11 U.S.C §1141(d)(5).

 9.     Upon making an affirmative finding, the Court issues an order of discharge which

 discharges debt. This bankruptcy discharge eliminates the in personam liability of the debtor.

 This bankruptcy discharge, in and of itself, does nothing to reduce the in rem liability of any

 liened property for the discharged debt. Thus, Debtor is not claiming that a bankruptcy

 discharge releases liens. Again, Debtor is not claiming that a bankruptcy discharge releases

 liens—no matter how many times opposing counsel may claim otherwise.

 10.    However, as a condition of issuing a Chapter 11 discharge, the bankruptcy codes requires

 the Court to find that all payments under the plan have been completed. That factual finding is

 protected by collateral estoppel. Federal Collateral estoppel depends on three elements: (1) the

 issue at stake must be identical to the one involved in the prior action; (2) the issue must have

 been actually litigated in the prior action; and (3) the determination of the issue in the prior

 action must have been a necessary part of the judgment in that earlier action. All three elements

 are met here.

 11.    In addition, U.S. Bank’s claim is precluded by res judicata. In its Notice of Intent to Issue

 Order of Discharge For An Individual Debtor in a Chapter 11 Case (“Notice of Intent to Issue

 Discharge”) [DOC 433], the Court expressly stated that it was going to consider “whether all

 whether such debtor has actually completed all payments for which such debtor was designated

 to act as the disbursing agent under the confirmed Chapter 11 plan” and stated that if no

 objection was filed it would deem that all prerequisites to the entry of a Chapter 11 discharge

 fulfilled. Despite proper notice to all parties of record, no such objections were made and the

 Court issued an order of discharge [DOC 440].
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 12.     For res judicata to apply, the following elements must be present: (1) a prior final

 judgment on the merits by a court of competent jurisdiction; (2) the same parties or those in

 privity with them; and (3) a second action based on the same claims as were raised or could have

 been raised in the first action. All three elements are met here.

 13.    U.S. Bank is in privity with CitiMortgage and any potential principal for which

 CitiMortgage was acting when it filed its claim by assignment, transfer, or negotiation.

 14.    All other grounds and causes of action are subject to, and secondary to, the collateral

 estoppel and res judicata claims in this objection.

                     Ground 3 – Refusal of Tender / Bankruptcy Discharge

 15.    During the bankruptcy proceeding, Debtor tendered to CitiMortgage payments sufficient

 to satisfy the allowed claim, including interest on the claim as provided in the plan.

 16.    These payments were properly tendered to the proper payee and proper address provided

 in the allowed claim as provided in the Plan and pursuant to the Bankruptcy Code and Rules

 related to payment addresses and payees.

 17.    To the extent that any tender was refused or returned to Debtor, the secured property’s

 liability for the secured debt is reduced by the amount of such payment refused or returned. This

 Texas rule of law, which applies to secured property and to guarantors, is different from the law

 with regard to refused tenders with regard to liability of a debtor. In the latter case, the amount of

 the debt is not reduced but no interest accrues on the amount of the refused tender from that date

 forward.

 18.    This refusal of tender rule results in the amount of the secured debt being reduced to $0

 by the refusal of tenders sufficient to satisfy the amount of the claim. Coupled with the

 bankruptcy discharge which eliminates Debtors in personam liability, this results in neither the
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 Debtor nor Debtor’s property being liable for the debt and requires disallowance of the claim in

 its entirety.

 Part 2 – Grounds for Allowance in a Reduced Amount

 19.     The grounds below for allowance of the claim in a reduced amount do not depend on the

 grounds above given for disallowance of the claim in its entirety and should be evaluated even if

 the claim is not disallowed in its entirety.

            Ground 4 – Binding Effect of Proof of Claim in Case 11-41092/ Payments

 20.     CitiMortgage filed claim 28 in Case 11-41092 in the total amount of $159,937.34. This

 included a $100 in Post Petition Attorney Fees, $0 in interest, and $965.31 in Escrow

 Adv/Shortage. This allows the principal balance, on the date the petition was filed (April 4,

 2011), to be calculated as $158,872.03.

 21.     No objection to this claim was filed and it was deemed allowed following the deadline to

 file and objection pursuant to the bankruptcy code.

 22.      This deemed allowance and the amount of the claim is subject to the same res judicata

 and collateral estoppel defenses as described above.

 23.     U.S. Banks predecessors-in-interest have pled in prior Court filings that the amount of the

 allowed claim was $167, 453.92. This directly conflicts with the amount of the secured claim

 identified in Box 4 and the information in the arrearage detail. Thus, a large portion of the

 disputed difference is based this discrepancy in the “starting balance” against which

 acknowledged payments should be credited.

 24.     Debtor accounts for the $965.31 in Escrow Adv/Shortage in the escrow payments

 detailed in Exhibit 1. This $965.31 was a projected escrow shortage and was included in

 CitiMortgage’s post-petition escrow calculations.
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 25.    Exhibit 1 uses a starting balance of $158,972.03 based on adding the $100.00 post-

 petition attorney fees to the calculated amount of principal as the beginning principal balance.

 26.    As shown in Exhibit 1, the 72 principal and interest payments acknowledged by U.S.

 Banks and its predecessors-in-interest result in a reduction in the principal amount to $95,695.65

 as of December 6, 2016. Payments made during the pendency of Case 18-42230 by the Chapter

 13 trustee totaling $12,837.70 further reducing the principal balance to 82,857.95.

 27.    Application of the refused tender rule with regarding to personal liability would mean

 that, at most, the proper principal balance would be $82,857.95.

 28.    If the refused tender rule with regarding to personal liability is not applied, there would

 be $17,106.50 in interest due.

                    Ground 5 – Failure to Attach Invoices to Proof of Claim

 29.    The proof of claim includes $5,920.56 as “Fees, costs, due” and $22,338.64 for “Escrow

 Deficiency for Funds Advanced.” U.S. Bank failed to attach legible copies of unpaid invoices

 substantiating pre-petition fees, expenses, and other charges as part of the claim.

 30.    Debtor objects to the inclusion of these amounts in the allowed claim pursuant to the

 Court’s Standing Order Concerning All Chapter 13 Cases Rule 15(b)(2)

                                    Ground 6 – Improper Fees

 31.    U.S. Bank’s proof of claim includes improper legal, title, and foreclosure fees in the

 amount of $5,920.56.

 32.     These include, without limitation, foreclosure fees associated with filing a foreclosure in

 the wrong county, foreclosure fees incurred prior to a valid acceleration of the debt or after

 abandonment of any valid acceleration, fees associated with invalid notice of sale, and inspection

 fees made at a time when debt was not in default.
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 33.     Debtor reserves right to further amend his objection after inspection of required invoices.

                             Ground 7 – Improper Escrow Advances

 34.     U.S. Bank’s proof of claim includes improper fees for “Escrow Deficiency for Funds

 Advanced” in the amount of $22,338.64

 35.     These include, without limitation, escrow advances made at a time that U.S. Banks and

 its predecessors-in-interest had no right or obligation to advance escrow advances for property

 taxes and property insurance.

 36.     Debtor reserves right to further amend his objection after inspection of required invoices.

 Part 3 – Procedural/Evidentiary Objections

 37.     The endorsement on the note in U.S. Bank’s proof of claim is defective. The endorser

 failed to indicate that she was executing the endorsement on behalf of the holder of the note. It

 appears that such a showing was attempted but endorser’s capacity is missing and unreadable.

 38.     As a result, the note is specifically endorsed and since U.S. Bank is not the holder of the

 note it must prove the transaction by which the note came into its possession and all the other

 transaction in the chain of title. It also precludes U.S. Bank from being a holder in good faith.

 U.S. Bank is also precluded because the debt was in default, allegedly, when the debt was

 transferred to it.

 39.     There is also indication that the endorsement of the note was fraudulent or that it was

 indorsed out of time. ABN AMRO Mortgage Group, Inc. had already merged into CitiMortgage

 at the time the proof of claim in 11-41092 was filed. The note in the proof of claim filed did not

 contain the endorsement shown on the proof of claim filed in this case. Thus, based on the

 evidence included in the two proofs of claim, the endorsement, which purports to be from ABN
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 AMRO Mortgage Group, Inc. was added after ABN AMRO Mortgage Group, Inc. ceased to

 exist.

 40.      For these reasons, U.S. Bank’s proof of claim does not constitute prima facie evidence of

 the validity and amount of the claim. The burden is on U.S. Bank to present evidence on all

 aspects of its claim.

       OBJECTION TO TRUSTEE’S RECOMMENDATION CONCERNING CLAIMS

 41.      For the grounds stated above, Debtor objects to the treatment of U.S. Bank’s claim as

 provided in the TRCC.

                                               PRAYER

          WHEREFORE, Debtor prays that the Court sustain Debtor’s Objection and

       1) Disallow U.S. Bank’s proof of claim in full, or

       2) Allow U.S. Bank’s proof of claim in a reduced amount as detailed above, and

       3) Require Trustee to modify the TRCC, and

       4) Grant general relief and all other relief as may be just and proper in the premises.



 Respectfully submitted,

 Dated: June 20, 2023

                                                                /s/ George Dale Wigington_
                                                                George Dale Wigington
                                                                Pro Se
                                                                State Bar No.: 24091665
                                                                Dalewig10@verizon.net
                                                                2451 Elm Grove Road
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                                                            DETAIL ‐ ALL MORTGAGE PAYMENTS UNDER THE PLAN
Payment    Payment        Payment                                                     If Credited, by    Payment       Principal Balance       Principal                         Escrow
Number     Due Date         Date            Payment Method/Source       Credited?         Whom?          Amount        (After Payment)         Applied      Interest Paid       Payment
                                                                                    Beginning Principal Balance        $     158,972.03
  1       05/01/11      4/5/2011        Inwood 1326 ‐ EFT              No           Citimortgage        $ 2,057.13     $     157,568.31    $     1,403.72   $     21.78     $      631.63
  2       06/01/11      5/3/2011        Inwood 1326 ‐ EFT              Yes          Citimortgage        $ 2,057.13     $     156,115.55    $     1,452.76   $    604.37     $         ‐
  3       07/01/11      5/31/2011       Inwood 1326 ‐ EFT              Yes          Citimortgage        $ 2,057.13     $     155,300.80    $       814.75   $    598.80     $      643.58
  4       08/01/11      7/11/2011       Inwood 1326 ‐ EFT              Yes          Citimortgage        $ 2,033.34     $     154,747.54    $       553.26   $    872.24     $      607.84
   5      09/01/11      8/10/2011       Inwood 1326 ‐ EFT              Yes          Citimortgage        $ 2,033.34     $     153,957.98    $       789.55   $    635.95     $      607.84
   6      10/01/11      9/6/2011        Inwood 1326 ‐ EFT              Yes          Citimortgage        $ 2,033.34     $     153,101.92    $       856.07   $    569.43     $      607.84
   7      11/01/11      10/3/2011       Inwood 1326 ‐ EFT              Yes          Citimortgage        $ 2,033.34     $     152,242.69    $       859.23   $    566.27     $      607.84
   8      12/01/11      11/14/2011      Inwood 1326 ‐ EFT              Yes          Citimortgage        $ 2,033.34     $     151,693.10    $       549.58   $    875.92     $      607.84
   9      01/01/12      11/29/2011      Inwood 1326 ‐ EFT              Yes          Citimortgage        $ 2,033.34     $     151,187.14    $       505.96   $    311.70     $    1,215.68
  10      02/01/12      12/27/2011      Inwood 1326 ‐ EFT              Yes          Citimortgage        $ 2,033.34     $     150,341.54    $       845.60   $    579.90     $      607.84
  11      03/01/12      1/23/2012       Inwood 1326 ‐ EFT              Yes          Citimortgage        $ 2,033.34     $     149,472.09    $       869.44   $    556.06     $      607.84
  12      04/01/12      2/29/2012       Inwood 1326 ‐ EFT              Yes          Citimortgage        $ 2,019.92     $     148,804.19    $       667.90   $    757.60     $      594.42
  13      05/01/12      3/28/2012       Inwood 1326 ‐ EFT              Yes          Citimortgage        $ 2,019.92     $     147,949.45    $       854.74   $    570.76     $      594.42
  14      06/01/12      5/3/2012        Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,019.32     $     147,254.16    $       695.29   $    729.61     $      594.42
  15      07/01/12      5/30/2012       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,019.92     $     146,373.30    $       880.86   $    544.64     $      594.42
  16      08/01/12      6/26/2012       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,019.92     $     145,489.18    $       884.12   $    541.38     $      594.42
  17      09/01/12      8/8/2012        Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,019.92     $     144,920.67    $       568.51   $    856.99     $      594.42
  18      10/01/12      9/5/2012        Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,019.92     $     144,060.95    $       859.72   $    555.86     $      604.34
  19      11/01/12      10/3/2012       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,019.92     $     143,197.93    $       863.02   $    552.56     $      604.34
  20      12/01/12      10/30/2012      Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,019.92     $     142,311.99    $       885.94   $    529.64     $      604.34
  21      01/01/13      12/4/2012       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,019.92     $     141,578.73    $       733.26   $    682.32     $      604.34
  22      02/01/13      12/26/2012      Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,019.92     $     140,589.82    $       988.90   $    426.68     $      604.34
  23      03/01/13      1/29/2013       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,019.92     $     139,829.05    $       760.78   $    654.80     $      604.34
  24      04/01/13      2/27/2013       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,019.92     $     138,959.03    $       870.01   $    555.49     $      594.42
  25                    2/28/2013       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $     434.04   $     138,959.03    $          ‐     $       ‐       $      434.04
  26      05/01/13      4/2/2013        Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,453.96     $     138,180.74    $       778.29   $    647.21     $    1,028.46
  27      06/01/13      4/30/2013       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,453.96     $     137,285.25    $       895.49   $    530.01     $    1,028.46
  28      07/01/13      5/21/2013       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,127.24     $     136,581.40    $       703.85   $    394.93     $    1,028.46
  29      08/01/13      6/25/2013       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,453.96     $     135,484.02    $     1,097.38   $    654.84     $      701.74
  30      09/01/13      7/26/2013       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,127.24     $     134,633.86    $       850.16   $    575.34     $      701.74
  31      10/01/13      8/27/2013       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,127.04     $     133,097.00    $     1,536.86   $    590.18     $         ‐
  32      11/01/13      10/3/2013       Wells Fargo 6256 ‐ EFT         Yes          Citimortgage        $ 2,127.04     $     133,027.06    $        69.94   $    674.60     $    1,382.50
  33      12/01/13      10/30/2013      Wells Fargo 6480 ‐ EFT         Yes          Citimortgage        $ 2,106.26     $     131,412.82    $     1,614.24   $    492.02     $         ‐
  34      01/01/14      12/3/2013       Wells Fargo 6480 ‐ EFT         Yes          Citimortgage        $ 2,106.26     $     131,253.04    $       159.78   $    612.06     $    1,334.42
  35      02/01/14      1/7/2014        Wells Fargo 6480 ‐ EFT         Yes          Citimortgage        $ 2,106.26     $     130,429.73    $       823.30   $    629.30     $      653.66
  36                    1/7/2014        Wells Fargo 6480 ‐ EFT         Yes          Citimortgage        $      27.10   $     130,429.73    $          ‐     $       ‐       $       27.10
  37      03/01/14      2/5/2014        Wells Fargo 6480 ‐ EFT         Yes          Citimortgage        $ 2,374.26     $     129,227.28    $     1,202.45   $    518.15     $      653.66
  38      04/01/14      3/5/2014        Wells Fargo 6480 ‐ EFT         Yes          Citimortgage        $ 2,106.26     $     128,297.44    $       929.83   $    495.67     $      680.76
  39      05/01/14      3/31/2014       Wells Fargo 6480 ‐ EFT         Yes          Citimortgage        $ 2,106.26     $     127,328.89    $       968.55   $    456.95     $      680.76
  40      06/01/14      5/1/2014        Wells Fargo 6480 ‐ EFT         Yes          Citimortgage        $ 2,153.54     $     126,444.10    $       884.79   $    540.71     $      728.04
  41      07/01/14      5/28/2014       Wells Fargo 6480 ‐ EFT         Yes          Citimortgage        $ 2,153.54     $     125,486.27    $       957.83   $    467.67     $      728.04
          Total through First Anniversary Date of Plan Confirmation                                     $ 82,240.69                        $    33,485.76   $ 22,430.34     $ 26,324.59
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                                                       DETAIL ‐ ALL MORTGAGE PAYMENTS UNDER THE PLAN
Payment    Payment     Payment                                               If Credited, by    Payment      Principal Balance       Principal                         Escrow
Number     Due Date      Date         Payment Method/Source     Credited?        Whom?          Amount       (After Payment)         Applied      Interest Paid       Payment

                                                                            Beginning Principal Balance      $     102,711.18
  67      08/01/16    7/6/2016     Wells Fargo 6480 ‐ EFT      Yes          Citimortgage        $ 2,231.44   $     101,792.21    $       918.98   $    506.52     $      805.94
 *68      09/01/16    8/2/2016     Wells Fargo 6480 ‐ EFT      Yes          Citimortgage        $ 2,231.44   $     100,743.20    $     1,049.01   $    376.49     $      805.94
  69      10/01/16    8/28/2016    Wells Fargo 6480 ‐ EFT      Yes          Nationstar          $ 2,231.44   $      99,676.51    $     1,066.69   $    358.81     $      805.94
  70      11/01/16    9/29/2016    Wells Fargo 6480 ‐ EFT      Yes          Nationstar          $ 2,231.44   $      98,687.95    $       988.56   $    436.94     $      805.94
  71      12/01/16    10/25/2016   Wells Fargo 6480 ‐ EFT      Yes          Nationstar          $ 2,231.44   $      97,613.94    $     1,074.01   $    351.49     $      805.94
 **72     01/01/17    12/6/2016    Wells Fargo 6480 ‐ EFT      Yes          Nationstar          $ 2,231.44   $      96,750.05    $       863.89   $    561.61     $      805.94
                                                                                                                    95,695.65    $
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                                  CERTIFICATE OF SERVICE

 This is to certify that a true and correct copy of the foregoing has been served upon the parties
 below on June 20, 2023 by mailing a copy of same to them via first-class mail or through the
 court’s CM/ECF electronic mail (Email) system.

                                                              /s/ George Dale Wigington
                                                              George Dale Wigington


 Thomas Powers
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